        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 1 of 17



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

SOUTHERN FIELD MAINTENANCE )
& FABRICATION LLC,          )
                            )
     Plaintiff,             )
                            )
v.                          )                    CASE NO. 2:18-cv-581-GMB
                            )                    [wo]
WALTER ERIC KILLOUGH, and   )
TOTAL MAINTENANCE SERVICES, )
                            )
     Defendants.            )

                     MEMORANDUM OPINION AND ORDER

       Pending before the court is the Motion to Dismiss First Amended Complaint filed

by Defendants Walter Eric Killough and Total Maintenance Services (“TMS”). Doc. 23.

Plaintiff Southern Field Maintenance & Fabrication, LLC (“Southern Field”) filed this

lawsuit on June 15, 2018, bringing several state and federal claims arising out of actions

by its former employee, Killough, and his new business, TMS. Doc. 1. Pursuant to 28

U.S.C. § 636(c) and Federal Rule of Civil Procedure 73, the parties have consented to the

jurisdiction of the undersigned United States Magistrate Judge. Docs. 19 & 20. This court

previously granted in part and denied in part a motion to dismiss the complaint. Doc. 21 at

20. The instant motion is directed to the amended complaint filed by Southern Field with

leave of court. Doc. 22. After careful consideration of the parties’ submissions and the

applicable law, for reasons to be discussed below, the motion to dismiss (Doc. 23) is due

to be DENIED.
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 2 of 17



                         I.     JURISDICTION AND VENUE

       The court has subject-matter jurisdiction over the claims in this action pursuant to

28 U.S.C. § 1331 and § 1367. The parties do not contest personal jurisdiction or venue,

and the court finds adequate allegations to support both.

              II.    FACTUAL AND PROCEDURAL BACKGROUND

       The facts as alleged in the amended complaint are as follows:

       Southern Field is an industrial maintenance management and services provider

operating in 30 states. Doc. 22 at ¶ 8. Killough was an employee of Southern Field until

March 25, 2018. Doc. 22 at ¶9. TMS is an industrial maintenance company formed by

Killough to compete with Southern Field. Doc. 22 at ¶ 10.

       Killough began his employment with Southern Field as a fabrication shop foreman

and was promoted over time to the position of superintendent of Southern Field’s contract

maintenance crew assigned to supervise and manage Southern Field’s maintenance service

work for Georgia-Pacific Corporation (“GP”). Doc. 22 at ¶ 12.

       Despite his position with Southern Field, Killough began making plans to form an

industrial maintenance company to compete with Southern Field. All of Killough’s plans

were undertaken clandestinely and without the knowledge or consent of Southern Field.

Doc. 22 at ¶ 15.

       As part of this process, Southern Field alleges, Killough misappropriated

confidential, proprietary, and trade secret business information belonging to Southern

Field. The trade secret information is alleged to include the following, with the following

protections of those trade secrets, as paraphrased:


                                             2
 Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 3 of 17



a.   Southern Field’s business plan related to maintenance service project
     work which is maintained in hard copy and electronic copy formats
     and is marked with legends indicating it is confidential and/or
     proprietary. The electronic copy is maintained on a password-
     protected server and the hard copies are maintained in locked storage.
     Killough was in the limited group of Southern Field employees who
     had password access to the server and Southern Field made
     presentations to and specifically discussed with Killough the need to
     maintain the confidentiality of the business plan.

b.   Southern Field’s project estimates, proposals, subcontracts, and
     purchase orders and Killough’s intimate knowledge about Southern
     Field’s proprietary and confidential information contained in them.
     Killough had many conversations of a confidential nature about how
     the price was prepared for the proposals. Access to the bid documents
     is controlled by a pre-approved list of employees with access. The
     bid documents are stored on a password-protected server or in locked
     cabinets or locked rooms. Southern Field made presentations to and
     discussed with Killough the need to maintain confidentiality. The
     internal documents were marked with legends indicating that they
     were confidential and/or proprietary.

c.   Southern Field’s project tracking log, containing information on past,
     current and future purchase orders on the GP Project. Only authorized
     personnel are given access to this log. Killough was in a limited group
     of employees who had password access to the access-limited,
     password-protected server. Southern Field made presentations and
     discussed with Killough the need to maintain the confidentiality of the
     information in the log.

d.   Southern Field’s proprietary and confidential time and materials rates
     used to prepare bids and quotes for industrial maintenance contracts
     and jobs, including on the GP Project. The sheets are maintained in
     hard copy and electronic copy formats. The electronic copies are
     maintained on an access-limited, password-protected server. The
     sheets are marked with a confidentiality/proprietary legend. Southern
     Field made presentations to and discussed with Killough the need to
     maintain confidentiality of the proprietary information in the rate
     sheets.

e.   Documents and information containing Southern Field’s current gross
     profit, overhead and pretax percentages. These documents were only
     shared with authorized personnel, including Killough, to analyze


                                    3
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 4 of 17



              profitability and to help prepare future bids. The information was
              maintained by the Chief Financial Officer on an access-limited,
              password-protected server. Southern Field made presentations to and
              discussed with Killough the need to maintain confidentiality.

Doc. 22 at ¶ 19.

       Southern Field also alleges that during his employment Killough received and

signed a written acknowledgment within the company handbook that sensitive business

information is confidential, the property of the company, and should not be discussed

except where explicitly authorized by the company. Doc. 22 at ¶ 21. The amended

complaint also alleges that Killough prepared and delivered to GP quotes and proposals for

maintenance work that were marked as “CONFIDENTIAL & PROPRIETARY

INFORMATION.” Doc. 22 at ¶ 22. There is no allegation that Killough signed an

independent confidentiality, non-compete, or non-solicitation agreement.

       Southern Field alleges that much of the information Killough misappropriated was

current when he took it, could easily be used to Southern Field’s great competitive

detriment, had great economic value to Southern Field, and was the subject of reasonable

efforts by Southern Field to protect its secrecy. Doc. 22 at ¶ 23.

       Southern Field alleges that Killough clandestinely took actions to recruit the

Southern Field crew, to have the GP contract replaced outside of the usual bid process, and

to have Southern Field removed from the bid list or not notified about upcoming bid

opportunities. Doc. 22 at ¶ 17.

       Because of Killough’s actions, it is alleged that Killough and TMS became the

maintenance service contractor on the GP project immediately after Killough separated



                                              4
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 5 of 17



from his employment with Southern Field on March 25, 2018. Doc. 22 at ¶ 24.

                               III. STANDARD OF REVIEW

       In considering a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure, the court must “take the factual allegations in the complaint as true and

construe them in the light most favorable to the plaintiff.” Pielage v. McConnell, 516 F.3d

1282, 1284 (11th Cir. 2008). To survive a motion to dismiss, a complaint must include

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). A claim is “plausible on its face” if “the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

The complaint “requires more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Factual

allegations need not be detailed, but “must be enough to raise a right to relief above the

speculative   level,”   id.,    and   “unadorned,     the-defendant-unlawfully-harmed-me

accusation[s]” will not suffice. Iqbal, 556 U.S. at 678.

                                   IV.    DISCUSSION

       Killough and TMS seek the dismissal of portions of Counts I, II, IV, and V of the

amended complaint.

A.     Trade Secrets Claims

       Southern Field brings claims for violations of the federal Defend Trade Secrets Act,

18 U.S.C. § 1836 (“DTSA”), and the Alabama Trade Secrets Act, Alabama Code

§ 8-27-3 (“ATSA”), in Counts I and II of the amended complaint.


                                             5
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 6 of 17



       In ruling on the initial motion to dismiss, this court determined that there are

allegations which satisfy each of the elements of the claims challenged by Killough and

TMS, but explained that it was not clear whether the allegations for each element of the

trade secrets claims applied consistently to the same category of trade secret. Doc. 21 at

12. The court gave Southern Field additional time in which to file an amended complaint

to address this concern.

       The categories of trade secrets alleged in the amended complaint are Southern

Field’s business plan; bid documents; the project tracking log; time and materials rates;

and current gross profit, overhead, and pretax percentages. Doc. 22. In the new motion,

Killough and TMS now challenge only the element of reasonable measures to protect trade

secrets as to each of the categories of trade secrets alleged, other than the bid documents.

Doc. 23 at 1.

       As to Southern Field’s business plan and the time and materials rates, Killough and

TMS argue that Southern Field in its amended complaint has pleaded “utterly unadorned”

allegations that these categories of documents were marked with indicia that they were

confidential and that these representations lack plausibility. Killough and TMS argue that

some allegations of the amended complaint are pleaded using the present tense, and so do

not even plead that indicia of confidentiality existed at the time of Killough’s employment.

Killough and TMS also challenge new allegations in the amended complaint that Southern

Field discussed with Killough the need for confidentiality, stating that these allegations

were missing from the first complaint without explanation and are just bald recitations of

the elements of the claims.


                                             6
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 7 of 17



       The business plan is alleged to have been maintained in hard and electronic copy,

to have been marked with legends indicating it is confidential and/or proprietary, to have

been maintained either on a password-protected server to which a limited group of

employees had access or in locked file storage, and Southern Field officials are alleged to

have discussed with Killough the need to maintain the confidentiality of proprietary

information in the business plan. Doc. 22 at ¶ 19 (a). The time and materials rates also are

alleged to have been in hard copy and electronic formats, with electronic copies being

maintained    on   an   access-limited, password-protected      server; marked      with a

confidentiality/proprietary legend; and Southern Field is alleged to have discussed with

Killough the need to maintain confidentiality. Doc. 22 at ¶ 19(d).

       The Federal Circuit, applying Florida law, has examined allegations of actions taken

to maintain secrecy that included “imposing confidentiality and nondisclosure obligations

on [] employees that have access to . . . Trade Secrets, marking documents constituting []

Trade Secrets with confidentiality designations and/or other indicia prohibiting the

reproduction or dissemination of such documents or information to third parties, [and]

restricting physical and electronic access by third parties” to trade secret information.

ABB Turbo Sys. AG v. Turbousa, Inc., 774 F.3d 979, 986 (Fed. Cir. 2014). The Federal

Circuit explained that these facts were enough to state a claim that is plausible on its face

and that requiring more was “too demanding of specificity.” Id. This court is persuaded to

follow this analysis.

       Southern Field has not merely alleged the elements of a claim that it took

“reasonable measures” of secrecy, but instead has alleged specific measures it took,


                                             7
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 8 of 17



including marking the confidential nature of the document, keeping it in a password-

protected and/or locked area, and discussing the need with Killough to maintain

confidentiality. Doc. 22 at ¶ 19. The fact that some of these allegations are pleaded in the

present tense does not undermine their plausibility at this stage of the litigation. For

purposes of the pending motion to dismiss, the court concludes that these allegations are

sufficient to state a plausible DTSA and ATSA claim with respect to the business plan and

time and materials rates.

       In its previous Order, this court concluded that there were sufficient allegations of

reasonable measures to protect secrecy even in the absence of a confidentiality agreement

because the complaint alleged that the trade secrets were contained in documents with

proprietary markings. Doc. 21. The amended complaint, however, makes clear that some

categories of trade secrets were not marked as confidential and proprietary—specifically,

the project tracking log and the current gross profit, overhead, and pretax percentages

documents. Doc. 22 at ¶ 19 at (c) & (d).

       The amended complaint alleges that these two categories of trade secrets were

contained on a password-protected, limited-access server, and that Southern Field

discussed with Killough the need to maintain the confidentiality of the proprietary

information in those particular documents. Doc. 22 at ¶ 19(c)–(d). The amended complaint

states that only authorized personnel were given access to the project tracking log and the

profit and overhead documents. Doc. 22 at ¶ 19(c)–(d). Killough and TMS argue that while

Southern Field now alleges that these documents were housed on password-protected




                                             8
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 9 of 17



servers, there is no indication that the same protection was not given to all of Southern

Field’s documents, undercutting any reliance on this security measure.

       Other jurisdictions have examined the contours of the law regarding reasonable

measures taken to protect secrecy. “[A]n employer’s failure to mark documents as

confidential or trade secret ‘precludes in many cases trade secret protection for those

materials.’” Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 959 (C.D. Cal. 2011). The

specific circumstances of a case, however, may militate against a ruling as a matter of law

that a party’s failure to mark documents as confidential precludes a finding of reasonable

efforts. Id. The marking of documents as confidential and proprietary is significant

particularly when the documents are disclosed to a third-party for some purpose. See M.C.

Dean, Inc. v. City of Miami Beach, Fla., 199 F. Supp. 3d 1349, 1355 (S.D. Fla. 2016). The

analysis of the measures taken to protect secrecy is fact-specific, however, and “under all

the circumstances, [if] the employee knows or has reason to know that the owner intends

or expects the information to be secret, confidentiality measures are sufficient.”

Lasermaster Corp. v. Sentinel Imaging, 931 F. Supp. 628, 635 (D. Minn. 1996).

       In this case, Southern Field has alleged that these categories of trade secrets were in

an access-limited, password-protected server and that there was a limited group of

employees with that access to the server, including Killough. Doc. 22 at ¶ 19(c)–(d).

Significantly, Southern Field also has alleged that Killough was informed of the need to

maintain the confidentiality of the information contained within the specific documents at

issue. At this point in the case, it is unclear what documents were misused and how they

were misused––facts that may or may not undermine the secrecy measures taken. Doc. 22


                                              9
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 10 of 17



at ¶ 22. As pleaded, there are sufficient allegations of reasonable security measures such

that Southern Field plausibly has alleged that Killough knew or had reason to know that it

intended or expected the information to be confidential. See, e.g., Lasermaster Corp., 931

F. Supp. at 635. Southern Field’s proof ultimately may be insufficient to maintain its

claims as to all of the trade secrets categories, and the court will revisit this analysis upon

presentation of evidence if called upon to do so later in the case. The motion to dismiss,

however, is due to be DENIED as to the trade secrets claims.

B.     Conversion

       This court previously applied a decision of the Alabama Supreme Court in which it

reversed a grant of summary judgment because the trier of fact should decide whether

discarded documents retrieved from the common trash dumpster located on leased

premises were proof of conversion, and also found that jury questions existed on the issues

of whether the discarded documents were trade secrets. Doc. 21 at 14 (citing Soap Co. v.

Ecolab, Inc., 646 So. 2d 1366, 1371 (Ala. 1994), overruled on other grounds by White

Sands Grp., L.L.C. v. PRS II, LLC, 32 So. 3d 5 (Ala. 2009)). In so doing, this court

concluded that the conversion claim alleged in this case to be based on the conversion of

tangible property in the form of “hard copy documents” was not preempted by the ATSA.

Doc. 21 at 15.

       The amended complaint now alleges that these documents were stored in hard copy

format. In response, Killough and TMS argue that this bare allegation, absent any facts

explaining the manner in which they were taken, is merely a recitation of the elements of

the claim and insufficient to state a plausible claim. Southern Field maintains that only the


                                              10
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 11 of 17



intangible trade secret portion of the conversion claim in the original complaint was

dismissed by the court so that the motion seeking dismissal of a claim based on conversion

of hard copy documents is procedurally impermissible. The court agrees and finds that the

motion to dismiss is due to be DENIED as to this aspect of the conversion claim.

       A new issue has been raised, however, as to the conversion of computer files. The

amended complaint states that Killough and TMS misappropriated information belonging

to Southern Field in part by “taking it from Southern Field’s computer system” (Doc. 22 at

¶ 19) and that Killough “copied and misappropriated” the profit and overhead and

documents and project tracking log. Doc. at ¶ 19(c)(vii) & (e)(vii). Southern Field takes

the position in brief that these allegations are broad enough to include an allegation that

the project tracking log and profit and overhead documents were taken in hard copy. Doc.

25 at 13. Southern Field further argues, however, that even if these documents were only

converted as computer files, they still are actionable in a conversion claim.

       The issue of the conversion of computer files was not addressed by the court in its

previous Order because it was not clear at that time that Southern Field was alleging a

claim relating to the conversion of electronic files. Courts examining the preemptive scope

of the ATSA have concluded that a conversion claim for a “novel idea, trade secrets and/or

other confidential information” is preempted. Madison Oslin, Inc. v. Interstate Res., Inc.,

2012 WL 4730877, at *9 (N.D. Ala. Sept. 30, 2012). If the item alleged to have been

converted is a physical item, however, courts have found it to be outside of the preemptive

scope of the ATSA. See Soap Co., 646 So. 2d at 1371. Electronic files copied to a disk or

removable-media device generally qualify as physical items in this analysis. See, e.g., Bell


                                             11
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 12 of 17



Aerospace Serv., Inc. v. U.S. Aero Serv., Inc., 690 F. Supp. 2d 1267, 1278 (M.D. Ala 2010).

But the distinction drawn by some courts is whether the converted property has value

independent of the value it accrues as a trade secret. See, e.g., Diamond Power Int’l, Inc.

v. Davidson, 540 F. Supp. 2d 1322, 1345 (N.D. Ga. 2007) (distinguishing a claim seeking

to remedy an injury caused not by the information but by the taking of physical property

such as blueprints and drawings). However, in Bell Aerospace Service, 690 F. Supp. 2d at

1278, the court allowed a claim to proceed to trial where files were retained on a personal

computer without discussing the issue of preemption in connection with that claim. See

Acoustic Artistry, LLC v. Peavey Elec. Corp., 2013 WL 12250381, at *8 n.9 (N.D. Ala.

Jan. 10, 2013) (distinguishing Bell Aerospace Service and noting that in that case the court

did not hold that the Act subsumed unjust enrichment and conversion claims).

       At this point in the proceedings, the amended complaint adequately alleges a claim

for conversion of physical property, and whether that property has value independent of

the ideas or confidential information contained within the physical property is not an issue

presently before the court. The motion to dismiss is, therefore, due to be DENIED as to

the conversion claim in the amended complaint.

C.     Tortious Interference with Business Relations

       In Count V, Southern Field brings a claim for tortious interference with contractual

or business relations. Killough and TMS originally moved for the dismissal of this claim

in the amended complaint on the ground that Killough was not a stranger to the business

relationship and so cannot be held liable for tortious interference with it. In addressing the

prior motion, the court gave Southern Field additional time in which to replead this claim


                                             12
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 13 of 17



to state facts establishing actual malice. Doc. 21. The court also found that the amendment

was not futile in the face of the defendants’ invocation of competitor’s privilege because it

is an affirmative defense, and allowed that additional facts alleged in an amended

complaint might have some bearing on that defense. Doc. 21 at 19 (citing White Sands

Grp., L.L.C. v. PRS II, LLC, 32 So. 3d 5, 20 (Ala. 2009), for the holding that evidence of

concealment of facts that the defendant was competing precluded judgment as a matter of

law on this affirmative defense).

       Killough and TMS again move for dismissal, arguing that Southern Field has not

pleaded facts showing actual malice and that the existence of competitor’s privilege is so

clear that the claim is due to be dismissed. Killough and TMS take the position that malice

under Alabama law exists only in narrow factual circumstances and that actions taken

merely to compete with Southern Field cannot demonstrate malice.

       Southern Field responds that it pleaded facts that plausibly support an inference of

malice, including Killough’s awareness of the importance of the GP project to Southern

Field, his responsibility to communicate upcoming bid opportunities, and his awareness of

Southern Field’s desire to continue on the GP project. The amended complaint alleges that

Killough clandestinely took actions to recruit the Southern Field crew, to have the GP

contract replaced outside of the usual bid process, and either to have Southern Field

removed from the bid list or to prevent Southern Field from receiving notice of upcoming

bid opportunities. Doc. 22 at ¶ 17. Southern Field argues that Killough did not just prepare

to leave and compete but that he took affirmative steps or committed omissions so that he

could get the GP contract for TMS without having to compete with Southern Field after he


                                             13
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 14 of 17



left employment. For purposes of the defense of competitor’s privilege, Southern Field

argues that these are allegations similar to fraud, which are not within the privilege.

       Alabama law permits a plaintiff to maintain a claim of interference with business

relations against an individual officer or employee with regard to “business or contractual

relations to which their corporation or employer is a party.” Perlman v. Shurett, 567 So. 2d

1296, 1297 (Ala. 1990). An intentional interference claim is viable only where the officer

or employee “act[ed] outside their scope of employment and [acted] with actual malice.”

Id. A plaintiff may show the employee’s conduct sufficiently deviated from the scope of

his authority by demonstrating that the employee played a direct role in interfering with

the plaintiff’s business relation in order to obtain a personal benefit. See Pegram v.

Hebding, 667 So. 2d 696, 701–02 (Ala. 1995).

       The requirements for proving “actual malice” under Alabama law are less clear.

Southern Field points to this language from the Alabama Supreme Court regarding an

inference of malice: “Malice may be shown by the proof of facts from which a reasonable

inference of malice may be drawn. The line between a proper inference and unwarranted

conjecture is not easily drawn. The answer depends on the evidence in each case and on

what the trier of fact may reasonably infer from that evidence.” Perlman v. Shurett, 567

So. 2d 1296, 1298 (Ala. 1990) (citation omitted). In Hickman v. Winston County Hospital

Board, 508 So. 2d 237, 239 (Ala. 1987), the Alabama Supreme Court relied on a case

equating malice and “malevolence,” and cited favorably the following description of

malice: “a corporation’s breach of contract must be done ‘without justification or

maliciously.’” In addition, to prove malice a plaintiff must make “a strong showing of a


                                             14
        Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 15 of 17



pattern of interference.” Morrow v. Auburn Univ. at Montgomery, 973 F. Supp. 1392, 1410

(M.D. Ala. 1997).

       Other jurisdictions have defined “malice” as actual evil-mindedness or specific

intent to injure. See Utility Trailer Sales of Kansas City, Inc. v. MAC Trailer Mfg., Inc.,

734 F. Supp. 2d 1210 (D. Kan. 2010), aff’d, 443 F. App’x 337 (10th Cir. 2011). This

definition of malice is consistent with the definition adopted by the Alabama Supreme

Court in other contexts.1 See Liberty Nat. Life Ins. v. Sanders, 792 So. 2d 1069, 1078 (Ala.

2000) (quoting jury instructions that “[m]alice means the intentional doing of a wrongful

act without just cause or excuse either with the intent to injure the person or property of

another person or under such circumstances as the law will imply an evil intent”).

       Killough and TMS seek to have this court dismiss the tortious interference claim on

the ground that actions taken by Killough to have TMS replace Southern Field on the GP

contract, which included not informing Southern Field about a bid opportunity or removing

Southern Field from the bid list, cannot be considered malice as a matter of law. While the

evidence of malice alleged here is not the type of malice recognized in some Alabama

cases, see, e.g., Michelin Tire Corp. v. Goff, 864 So. 2d 1068, 1077–79 (Ala. Civ. App.

2002), the court is not aware of any Alabama case holding that only actions taken to force

the firing of another employee are actionable under Alabama law.

       In Utility Trailer Sales, 734 F. Supp. 2d at 1218, the court found that it was a “close


1
  The competitor’s privilege standard in that jurisdiction, however, does not appear to be the same
as that in Alabama because in that jurisdiction the conduct must be “independently actionable
conduct,” which is a higher burden than evil-mindedness or intent to injure. Utility Trailer Sales,
734 F. Supp. 2d at 1222.

                                                15
          Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 16 of 17



call,” but there was sufficient evidence of malice in the form of evidence of intent to injure

the plaintiff’s business where the defendant, who was a party to a business relationship

with the plaintiff, allowed a third party to sell its products and helped the third party’s

business to become established with the intent to harm the business of the plaintiff. The

defendant also made a representation that took work away plaintiff and gave that work to

the third party. Id. at 1218–19. In this case, the allegations are not only that Killough set

up TMS to compete with Southern Field, but also that he intentionally manipulated the bid

process so that he could take advantage of that opportunity for TMS to the detriment of

Southern Field. Doc. 22 at ¶ 17. These allegations are consistent with the evidence of

malice in Utility Trailer Sales, which this court finds persuasive. The allegations also

include multiple efforts to position TMS to take GP’s business, not merely a one-time

event, so as to state a pattern. See Morrow, 973 F. Supp. at 1410. The court cannot conclude

as a matter of law, therefore, that Southern Field fails to allege facts plausibly establishing

malice.

       With respect to the defense of competitor’s privilege, the Alabama Supreme Court

has held that “[t]here is no privilege for self-enrichment by devious and improper means.”

White Sands Grp., 32 So. 3d at 18–19. In White Sands, the court held that a claim for

tortious interference could proceed, over the defense of competitor’s privilege, because

there was evidence indicating that the defendant concealed the fact that it was a competitor

of the plaintiff. Id. at 20.

       In the amended complaint in this case, Southern Field alleges that Killough took

actions in secret to compete with Southern Field and had Southern Field removed from the


                                              16
       Case 2:18-cv-00581-GMB Document 32 Filed 01/29/19 Page 17 of 17



bid list or failed to notify it about upcoming bid opportunities on the GP project in a

clandestine manner. Doc. 22 at ¶ 16 & ¶ 17. At this stage of the litigation, these are

sufficient allegations of devious or improper means such that the motion to dismiss is not

due to be granted on the basis of competitor’s privilege.

                                 V.     CONCLUSION

       For the foregoing reasons, it is ORDERED that the Motion to Dismiss is hereby

DENIED.

       The defendants have until February 12, 2019 to file an answer to the amended

complaint.

       DONE this 29th day of January, 2019.




                                            17
